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mo 'z-,»
IN THE UNITED STATES DISTRICT cOURT """“j
FOR THE wESTERN DISTRICT OF TENNESSEI}$§ ;;._P 9 AH 9: 18
wESTERN DIVISION ` `
:`":Cr'a_.`»; i'» ~<‘»
uLEH:<¢ '.;_;;. assi`ér_

 

W.D G~T; n
CURTIS L. BYRD, JR., ~’“ ¢- '»»’-EMPH:S

Petitioner,

VS. CR. NO. 01-20325-Ma

UNITED STATES OF AMERICA,

ReSpOndent.

 

ORDER OF REFERENCE

 

Thie matter is referred to the magistrate judge for a hearing
to determine if petitioner qualifies for appointment of counsel
under the Criminal Justice Act, and if eo, to appoint counsel.

lt is so ORDERED this Z¢’{’day cf April, 2005.

JM/Mr

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

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ThiS notice confirms a copy of the document docketed as number 205 in
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Honorable Samuel Mays
US DISTRICT COURT

